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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

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11       UNITED STATES OF AMERICA,                            CASE NO. CR22-001 TL
12                              Plaintiff,
                                                              MINUTE ORDER
13               v.

14       SHABNAM DAWN PILISUK,

15                              Defendant.

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17          The following Minute Order is made at the direction of the Court, the Honorable Tana

18 Lin, United States District Judge:

19          (1) This matter comes before the Court on the Government’s motion for leave to file a

20              reply brief (Dkt. No. 69) to its motion in limine to exclude improper reference to

21              punishment or custodial time (Dkt. No. 56).

22          (2) Given the fast-approaching trial date in this case, and that tomorrow is the noting date

23              for the motion for which the Government seeks to file a reply, the Court GRANTS the

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 1              motion. The reply shall be filed by January 13, 2023, and shall not exceed six (6)

 2              pages.

 3          (3) No further replies will be entertained.

 4          Dated this 12th day of January 2023.

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 6                                                        Ravi Subramanian
                                                          Clerk of the Court
 7
                                                          s/ Kadya Peter
 8                                                        Deputy Clerk

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